                   Case 19-14039-djb                   Doc          Filed 04/17/25 Entered 04/17/25 09:23:50                                  Desc Main
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     Fill in this information to identify the case:
     Debtor1                 Vincent Williams-Bey

     Debtor 2                  Michele Williams-Bey
     (Spouse, if filing)

     United States Bankruptcy Court for the :Eastern District of Pennsylvania
                                                                   (State)
     Case number 19-14039-djb




Form 4100R
Response to Notice of Final Cure                                                                      10/15
___________________________________________________________________________________________________________
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:               Mortgage Information


     Name of creditor: HSBC Bank USA, National Association, as Trustee,                                                                Court claim no. (if known): 13-1
     in trust for the registered holders of ACE Securities Corp. Home Equity
     Loan Trust, Series 2006-NC3, Asset Backed Pass-Through Certificates
      Last 4 digits of any number you use to identify the debtor’s account:  8459

     Property address:                 7621 ELWOOD STREET
                                       Number         Street
                                       PHILADELPHIA, PENNSYLVANIA 19136
                                       City             State      ZIP Code
 Part 2:               Prepetition Default Payments

 Check one:

     [X]          Creditor agrees that the debtor(s) have paid in full amount required to cure the prepetition default on the creditor’s claim

     [ ]          Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the creditor’s
                  claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date of this response is:
                                                                                                                                                  $___________
 .


 Part 3:               Postpetition Mortgage

 Check one:

     [ ]          Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the
                  Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

                  The next postpetition payment from the debtor(s) is due on:                   ____/____/______
                                                                                                MM/DD/YYYY

     [X]          Creditor states that the debtors are not current on all postpetition payments consistent with § 1322 (b)(5) of the
                  Bankruptcy Code, including all fees charges expenses, escrow, and costs.

                  Creditor asserts that the total amount remaining unpaid as of the date of this response is:
                  a. Total postpetition ongoing payments due:                                                                                      (a) $40,471.57
                  b. Total suspense:
                                                                                                                                                  - (b) $196.68
                  c. Total. Subtract line b from line a:
                                                                                                                                                   (c) $0.00
                  Creditor asserts that the debtor(s) are contractually
                  obligated for the postpetition payment(s) that first became
                  due on:                                                                        02 / 01 / 2022
                                                                                                MM/ DD/ YYYY




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Debtor 1       Vincent Williams-Bey                                     Document CasePage 2 of
                                                                                       number      5
                                                                                              (if known) 19-14039-djb
               First Name         Middle Name            Last Name




Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part
3 that the debtor(s) are not current with all postpetition payments, including all fees, charges
expenses, escrow, and costs, the creditor must attach an itemized payment history disclosing the
following amounts from the date of the bankruptcy filing through the date of this response:

[X] all payments received;
[X] all fees, costs, escrow, and expenses assessed to the mortgage; and
[X] all amounts the creditor contends remain unpaid


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s proof
of claim

Check the appropriate box:

[ ] I am the creditor.
[X] I am the creditor’s authorized agent.

I declare under penalty of perjury that the information provided in this response is true and correct to
the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from
the notice address listed on the proof of claim to which this response applies.

               X      /s Michelle L. McGowan                                                        Date   04/16/2025
                      Signature


                       Michelle L. McGowan
 Print                                                                                              Title Authorized Agent
                      First Name                      Middle Name          Last Name


 Company              Robertson, Anschutz, Schneid, Crane & Partners, PLLC

If different from the notice address listed on the proof of claim to which this response applies:


                      13010 Morris Rd., Suite 450
 Address
                      Number                Street

                      Alpharetta, GA 30004
                      City                           State               ZP Code


 Contact              470-321-7112                                                                                 Email     mimcgowan@raslg.com




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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on             April 17, 2025    , I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, and a true and correct copy has been served via
United States Mail to the following:

Vincent Williams-Bey
Michele Williams-Bey
7621 Elmwood Avenue
Philadelphia, PA 19153

And via electronic mail to:

JEFFREY M. CARBINO
Pierson Ferdinand LLP
1007 N Orange Street
The Mill, Suite 420
Suite 420
Wilmington, DE 19801

MICHAEL A. CIBIK
Cibik Law, P.C.
1500 Walnut Street
Suite 900
Philadelphia, PA 19102

KENNETH E. WEST
Office of the Chapter 13 Standing Trustee
190 N. Independence Mall West
Suite 701
Philadelphia, PA 19106

United States Trustee
Office of the U.S. Trustee
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107

                                                     By: /s/ Dena Eaves
                                                     Dena Eaves
                                                     deaves@raslg.com




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